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 AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case



                                      United States District Court
                                            Eastern District of California

           UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL
                      v.                                                  CASE
              STEPHEN J. JOHNSON                                          (For Offenses Committed On or After November 1, 1987)
                                                                          Case Number: 1:08CR00224-012 LJO


 Date of Original Judgment:           7/21/2011                           Jerald Brainin
 (Or Date of Last Amended Judgment)                                       Defendant’s Attorney



Reason for Amendment:
[ ] Correction of Sentence on Remand (Fed R. Crim. P. 35(a))[ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or
3583(e))[ ] Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b)) [ ] Modification of Imposed Term of
Imprisonment for Extraordinary and Compelling Reasons (18 U.S.C.§3582(c)(1)) [ ] Correction of Sentence by Sentencing Court (Fed.
R. Crim P. 35( c)) [ ] Modification of Imposed Term of Imprisonment for Retroactive Amendment(s) to the Sentencing Guidelines (18
U.S.C.§3582(c)(2)) [U] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36) [ ] Direct Motion to District Court
Pursuant to [ ] 28 U.S.C. §2255 [ ] 18 U.S.C. §3559(c )(7),     [ ] Modification of Restitution Order
THE DEFENDANT:
[]       pleaded guilty to count(s): .
[]       pleaded nolo contendere to counts(s)      which was accepted by the court.
[U]      was found guilty on counts 20, 21, 22, 23, 24, 25, 26 of the Sec ond Superseding Indictment after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                         Date Offense                 Count
Title & Section                Nature of Offense                                         Concluded                    Number(s)
18 USC 1001                    MAKING A FALSE, FICTITIOUS, OR FRAUDULENT 06/03/2008                                    20, 21
                               STATEMENT
18 USC 1623                           PERJURY BEFORE A GRAND JURY                           06/12/2008                 22 through 26


        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s) ____ and is discharged as to such count(s).

[]       Count(s)     (is)(are) dismissed on the motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[U]      Appeal rights given.                         []        Appeal rights waived.

          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                                           March 10, 2014
                                                                                   Date of Imposition of Judgment

                                                                                       /s/ Lawrence J. O’Neill
                                                                                     Signature of Judicial Officer

                                                                      LAWRENCE J. O'NEILL, United States District Judge
                                                                             Name & Title of Judicial Officer

                                                                                            March 24, 2014
                                                                                                Date
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 AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
 CASE NUMBER:               1:08CR00224-012 LJO                                                          Judgment - Page 2 of 5
 DEFENDANT:                 STEPHEN J. JOHNSON


                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 15 months as to each of Counts 20, 21, 22, 23, 24, 25 and 26, all to be served concurrently for a total term of 15
Months .



[]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that the defendant be incarcerated in a California facility, but only insofar as this accords
        with security classification and space availability.


[]      The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[U]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [U] before 2:00pm on 5/20/2014 .
        [U] as notified by the United States Marshal.
        [U] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , w ith a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                         By
                                                                                                 Deputy U.S. Marshal
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 AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
 CASE NUMBER:                 1:08CR00224-012 LJO                                                                       Judgment - Page 3 of 5
 DEFENDANT:                   STEPHEN J. JOHNSON


                                                  SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 Months as to each of Counts
20, 21, 22, 23, 24, 25, and 26, all to be s erved concurrently for a total term of 36 Months .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[U]       The above drug testing condition is suspended based on the court's determination that the defendant pos es a low risk of future
          substance abuse. (Check, if applicable.)

[U]       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
          applicable.)

[U ]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
          seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
          she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)     the defendant shall not leave the judicial district without permission of the court or probation officer;
2)     the defendant shall report to the probation offic er in a manner and frequency directed by the court or probation officer;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)     the defendant shall support his or her dependants and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
       acceptable reasons;
6)     the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
       of a felony unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
       any contraband observed in plain view by the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
       confirm the defendant's compliance with such notification requirement.
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 AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
 CASE NUMBER:                  1:08CR00224-012 LJO                                                                       Judgment - Page 4 of 5
 DEFENDANT:                    STEPHEN J. JOHNSON


                                          CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                          Fine                   Restitution
       Totals:                                       $ 700.00                            $                         $


[]     The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
       3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                       Total Loss*                  Restitution Ordered Priority or Percentage


       TOTALS:                                          $                               $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
       Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                 [ ] fine          [ ] restitution

       [ ] The interest requirement for the                 [ ] fine [ ] restitution is modified as follows:




[]     If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]     If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




   ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
 committed on or after September 13, 1994, but before April 23, 1996.
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 AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
 CASE NUMBER:                 1:08CR00224-012 LJO                                                                        Judgment - Page 5 of 5
 DEFENDANT:                   STEPHEN J. JOHNSON

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [U]           Lump sum payment of $            700.00 due immediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,    [ ] D,   [ ] E, or            [ ] F below; or

B    [ ] Payment to begin immediately (may be combined with                     [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal   (e.g., weekly, monthly, quarterly) installments of $   over a period of                   (e.g., months or
         years), to commence    (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal   (e.g., weekly, monthly, quarterly) installments of $  over a period of    (e.g., months or
         years), to commence    (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within   (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
         time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
